












Dismissed and Memorandum Opinion filed December 23,
2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-10-00945-CV

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&nbsp;

RITA LEMONS, Appellant

&nbsp;

V.

&nbsp;

OPTIMUM BONUS TEXAS, INC, Appellee

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&nbsp;

On Appeal from County Court at Law No. 3

Fort Bend County, Texas

Trial Court Cause No. 10-CCV-042499

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&nbsp;

M E M O R
A N D U M &nbsp;&nbsp;O P I N I O N

This is an appeal from a judgment signed September 3, 2010.
The notice of appeal was filed on September 23, 2010. To date, our records show
that appellant has neither established indigence nor paid the $175.00 appellate
filing fee. See Tex. R. App. P. 5
(requiring payment of fees in civil cases unless indigent); Tex. R. App. P. 20.1 (listing requirements for establishing
indigence); see also Order Regarding Fees Charged
in Civil Cases in the Supreme Court and the Courts of Appeals and Before the
Judicial Panel on Multidistrict Litigation, Misc. Docket No. 07-9138 (Tex. Aug.
28, 2007) (listing fees in court of appeals); Tex. Gov’t Code Ann.. ' 51.207 (Vernon 2005) (same). 

On November 18, 2010, this court ordered appellant to pay the
appellate filing fee on or before December 3, 2010, or the appeal would be
dismissed. Appellant has not paid the appellate filing fee. Accordingly, the
appeal is ordered dismissed. See Tex. R. App. P. 42.3(c) (allowing involuntary dismissal of case because
appellant has failed to comply with notice from clerk requiring response or
other action within specified time).&nbsp; 

&nbsp;

PER CURIAM

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Panel consists of Justices Anderson,
Frost, and Brown.

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